                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:                                                  CHAPTER 13
BRANDON L HEITMANN                                                 CASE NO. 24-41956-MAR
                                                                   JUDGE MARK A RANDON

Debtor                                   /


    TRUSTEE'S OBJECTION TO DEBTOR'S APPLICATION TO EMPLOY KOTZ SANGSTER
                        WYSOCKI PC AS SPECIAL COUNSEL
   Now Comes the Chapter 13 Trustee, KRISPEN S. CARROLL, and objects to the Debtor's
Application to Employ Kotz Sangster Wysocki PC as Special Counsel as follows:


         1. Trustee objects to debtor's failure to comply with the notice and service
             requirements pursuant to E. D. Mich. LBR 9014-1(c).

         2. Trustee objects as there is no apparent benefit to the debtor or the estate to incur
             attorney fees to defend state court cases that are stayed by the filing of this
             Chapter 13. Debtor's Amended Plan filed at Dkt#42, filed on 5/13/2024 is an
             unsecured base plan estimated to yield only $3,333.60 to unsecured creditors.
             Debtor has a 0% payment history and is delinquent in plan payments in the amount
             of $12,228.36.

         3. Trustee notes that Macomb County Case, 23-002737-CZ, referenced in paragraph
             1 of the motion is listed as "Concluded" in that Statement of Financial Affairs,
             paragraph 9.




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  Wherefore, the Chapter 13 Trustee prays this Honorable Court deny the relief requested.



Dated: May 15, 2024                      OFFICE OF THE CHAPTER 13 TRUSTEE -DETROIT
                                         KRISPEN S. CARROLL, CHAPTER 13 TRUSTEE

                                         /s/ KRISPEN S. CARROLL-mcs
                                         Krispen S. Carroll (P49817)
                                         719 Griswold Street, Ste 1100
                                         Detroit, MI 48226
                                         (313) 962-5035
                                         notice@det13ksc.com




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Debtor                                    /

                                    CERTIFICATE OF MAILING
I hereby certify that on the date indicated below, I electronically filed the Trustee's Objection
to Debtor's Application to Employ Kotz Sangster Wysocki PC as Special Counsel with the
Clerk of the Court using the ECF system which will send notification of such filing to the following :

             ROBERT N BASSEL
             P O BOX T
             CLINTON, MI 49236



 May 15, 2024                                 /s/ Shannon Horton
                                              SHANNON HORTON
                                              For the Office of the Chapter 13 Trustee-Detroit
                                              719 Griswold Street, Ste 1100
                                              Detroit, MI 48226
                                              (313) 962-5035
                                              notice@det13ksc.com




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